Case 16-31918-CMG            Doc 25 Filed 02/16/17 Entered 02/17/17 00:42:13                        Desc Imaged
                                  Certificate of Notice Page 1 of 2

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


    In Re:                                                     Case No.:             16-31918
                                                                                __________________
    Christopher R. Jennings &                                  Chapter:                  7
                                                                                __________________
    Eileen Jennings                                            Judge:                  CMG
                                                                                __________________


                                 NOTICE OF PROPOSED ABANDONMENT

       On 2/10/17, John M. McDonnell
    __________________________________,            Chapter 7 Trustee in this case proposes to abandon
                                                 ____________________
    property of the estate described below as being of inconsequential value. If you object to the
    abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
    serve it on the party named below not later than 7 days before the hearing date.

        Address of the Clerk: Clarkson S. Fisher U.S. Courthouse - 402 East State Street - Trenton,
                              New Jersey, 08608




                                                                                              Christine M. Gravelle
    If an objection is filed, a hearing will be held before the Honorable _______________________________
             March   14,  2017
    on ______________________ at ________a.m.   10            at the United States Bankruptcy Court, Courtroom no.
         3
    ________.   (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
    abandonment shall take effect on entry by the clerk of a Certification of No Objection.
        Description and value of property: 23 Sturgis Road, Edison, NJ 08817 - $200,000



    


        Liens on property:                $429,000




        Amount of equity claimed as exempt: $0



    Objections must be served on, and requests for additional information directed to:

    Name:             John M. McDonnell
                      ________________________________________________________________________
    Address:          115 Maple Ave., Red Bank, NJ 07701
                      ________________________________________________________________________
                   (732) 383-7233
    Telephone No.: ________________________________________________________________________

                                                                                                           rev.8/1/15
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                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 16-31918-CMG
Christopher R. Jennings                                                                                    Chapter 7
Eileen Jennings
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Feb 14, 2017
                                      Form ID: pdf905                    Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 16, 2017.
db/jdb         +Christopher R. Jennings,    Eileen Jennings,   23 Sturgis Road,   Edison, NJ 08817-4039
516534496     ++BANK OF AMERICA,   PO BOX 982238,    EL PASO TX 79998-2238
               (address filed with court: Bank of America,     PO BOX 982238,   El Paso, TX 79998)
516534498      +Capital One,   PO Box 71087,    Charlotte, NC 28272-1087
516534499      +Credit One Bank,   PO Box 530938,    Atlanta, GA 30353-0938
516534501      +Macy’s,   PO Box 9001094,    Louisville, KY 40290-1094
516502631      +Specialized Loan Servicing,    8742 Lucent Blvd,   Suite 300,   Highlands Ranch, CO 80129-2386

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Feb 14 2017 23:07:57       U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Feb 14 2017 23:07:52       United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
516534497       E-mail/Text: cio.bncmail@irs.gov Feb 14 2017 23:07:18      IRS,    310 Lowell St.,
                 Andover, MA 01810
516534500      +E-mail/Text: bnckohlsnotices@becket-lee.com Feb 14 2017 23:07:09       Kohl’s,    PO Box 2983,
                 Milwaukee, WI 53201-2983
516534502      +E-mail/PDF: gecsedi@recoverycorp.com Feb 14 2017 23:06:11       Toy’s R US,    PO Box 530938,
                 Atlanta, GA 30353-0938
                                                                                               TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 16, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 10, 2017 at the address(es) listed below:
              Denise E. Carlon   on behalf of Creditor    THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK,
               AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF THE CWABS INC., ASSET-BACKED CERTIFICATES, SERIES
               2006-24 dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com
              Harrison Ross Byck   on behalf of Joint Debtor Eileen Jennings lawfirm@kasuribyck.com,
               financial@kasuribyck.com
              Harrison Ross Byck   on behalf of Debtor Christopher R. Jennings lawfirm@kasuribyck.com,
               financial@kasuribyck.com
              John Michael McDonnell    jmcdonnell@mchfirm.com, jcohen@mchfirm.com;NJ95@ecfcbis.com
                                                                                             TOTAL: 4
